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                               UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERJCA,
                                                                     Case No. 20-cr-02315-WQH

                                         Plaintiff,
                       vs.
                                                                     JUDGMENT OF DISMISSAL
Adriana Pacheco,


                                      Defendant.



IT APPEARJNG that the defendant is now entitled to be discharged for the reason that:

      an indictment has been filed in another case against the defendant and the Court has
 •    granted the motion of the Government for dismissal of this case, without prejudice; or

 •    the Court has dismissed the case for unnecessary delay; or

 ~    the Court has granted the motion of the Government for dismissal, without prejudice; or

 •    the Court has granted the motion of the defendant for a judgment of acquittal; or

 •    a jury has been waived, and the Court has found the defendant not guilty; or

 •    the jury has returned its verdict, finding the defendant not guilty;

 ~    of the offense(s) as charged in the Indictment/Information:
      21:952, 960; 18:2 - Importation ofMethamphetamine (Felony); Aiding and Abetting
       Felon



 Dated:    11/3/2020
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